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TIMOTHY C. LEVENTRY, MANAGING PARTNER

Timothy C. Leventry is the managing partner of Leventry, Haschak & Rodkey, LLC, located at
1397 Eisenhower Boulevard, Johnstown, Pennsylvania 15904.

Educational Background

Graduate of the Pennsylvania State University School of Business with a major in Finance -1978.
Graduate of the Delaware Law School of Widener University with a Juris Doctor degree - 1981.

Graduate of the Georgetown University School of Law with a Legal Masters Degree in Taxation and
Estate Planning - 1982.

Mr. Leventry has been in the private practice oflaw since June of 1982 focusing his practice on the
following practice areas:

Labor Law and Collective Bargaining.
Insurance Defense.
Civil Litigation.
Advanced Estate Planning

- Corporate and Business Planning.
Commercial Banking;
Residential and Commercial Real Estate.
Construction Law.
Estate Administration.
Employment/Contract Law
General Practice of Law.

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Court Admissions

Mr. Leventry is admitted to practice before the Pennsylvania Courts of Common Pleas, the
Pennsylvania Superior Court, the Pennsylvania Commonwealth Court, the Pennsylvania Supreme Court, the
United States District Court of the Western District of Pennsylvania and the United States Tax Court.

Executive Offices

Mr. Leventry is the Executive Officer of the Home Builders Association of the Alleghenies. The

HBAA is a350 member organization of Contractors and Vendors associated with the construction industry
in the Cambria County area.

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Real Estate Development

Mr. Leventry is involved in the ownership, development and operation of over 130,000 square feet
of commercial office space located in the Johnstown and New Cumberland, Pennsylvania areas, including
participating in government housing programs involving Section 8.

Boards and Association

Mr. Leventry is on the Board of Directors of the Johnstown Credit Bureau and the Highland
Community Library. Mr. Leventry is also an advisory board member to AmeriServ Financial Bank.

Solicitorships

Mr. Leventry is Solicitor for Venture Quest Development, Windber Country Club, Snake Spring
Township Municipal Authority, Geistown Borough Zoning Hearing Board, Napier Township, Free Medical
Access Clinic, Johnstown Credit Bureau and the West Providence Township Sewer Authority.

Personal

Mr. Leventry is married to Ruth Ann Leventry and they have four children; Lea, Amy, Lisa and
Charlie.

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JOHN M. HASCHAK, PARTNER

Educational Background

Graduate of University of Pittsburgh School of Law with a Juris Doctor Degree - 1997.

Graduate of University of Pittsburgh with a Bachelor of Science Degree in Biochemistry - 1994.

Court Admissions

Mr. Haschak is admitted to practice before all Pennsylvania Courts, the United States District Court

for the Western District of Pennsylvania, the Western District of Pennsylvania Bankruptcy Court and the
United States Patent and Trademark Office.

Practice Areas

Mr. Haschak focuses his practice on the following areas:

Commercial Real Estate Development and Leasing
Bankruptcy/Creditors Rights
Commercial Banking

Intellectual Property (Patent/Trademark/Copyright)
General Business Law Practice

We we

Solicitorships

Mr. Haschak is Solicitor for the Northern Cambria Community Development Corporation, Community
Financial Resources, Inc. (a non-profit lender) and the Hastings Area Sewer Authority.

Personal

Mr. Haschak, his wife Janet and daughter Justine reside in Johnstown, Pennsylvania.

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EDUCATION

EXPERIENCE

ACTIVITIES

University of Pittsburgh School of Law Pittsburgh, PA
J.D., May of 2002
Honors: Semester Honors, fall of 2001 and spring of 2002
William Frederick Schulz Legal History Award
Activities: Staff, University of Pittsburgh Law Review, 2001-2002
Second Round Qualifier, 2000-2001 Appellate Moot Court Competition

University of Pittsburgh

B.A. in Economics and History, magna cum laude, May of 1999

G.P.A.: 3.64

Honors: College of Arts and Sciences Academic Scholarship, 1998
Omicron Delta Epsilon Honor Society in Economics, 1998
Phi Alpha Theta History Honorary Society, 1998
Golden Key National Honor Society, 1997

Leventry, Haschak & Rodkey, LLC Johnstown, PA

Associate attorney for firm practicing in business law, civil litigation and estate planning from August of
2002 to the present. Responsibilities include managing a diverse caseload in the areas of general
business law, federal tax law, estate and trust law, contract law, construction law, bankruptcy law and
commercial law; business planning (compliance with state and federal laws and regulations, entity
formation, entity operation, document review, insurance requirements and applicable employment law);
conducting legal research assignments and providing interpretive guidance for numerous legal issues
and litigation matters; acting as co-counsel in various civil litigation and insurance defense cases;
drafting pleadings (complaints, answers/responsive pleadings, motions and briefs) and attending court
hearings; estate planning (trust creation, trust funding, investments and management, wills, durable
powers of attorney and living wills); drafting, reviewing and negotiating asset purchase agreements,
limited liability company operating agreements, partnership and joint venture agreements, construction
agreements, real estate transfer agreements, commercial and residential leases, product manufacturing
and purchase agreements, and employment agreements; working with senior attorneys representing
individuals, for-profit organizations, municipal entities, and non-profit organizations. Served as team
leader of the firm’s Employee Development Committee and led the coordination and implementation of
programs for office expansion including a group health insurance program and an office-managed
flexible spending plan. Appointed as team leader of the firm’s Customer Service Committee, which
assesses Client needs and establishes plans and quality control measures to satisfy those needs.

Wayman, Irvin & McAuley, LLC Pittsburgh, PA
Law clerk for firm practicing in insurance defense litigation from June of 2001 to October of 2001.
Conducted various legal research assignments and prepared pleadings and discovery materials.

Somerset County Court of Common Pleas Somerset, PA
Student extern/law clerk, summer of 2000. Researched legal issues, analyzed case law and statutory law
and drafted memorandums for judicial opinions in civil and criminal matters.

Johnstown Rotary Club
Club President, 2006-2007; Vice-President, 2005-2006; Board Member, 2005-2007

Johnstown Salvation Army Advisory Board
Board President, 2007-2008; Board Vice-President, 2006-2007; Board Member, 2004-present

Cambria Residential Services
Board Member, June 2007-Present

Cambria County Bar Association - Young Lawyers Division
Treasurer, 2004-present
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JAMES J. GEIBIG
2304 Vartan Court Apt. #5, Harrisburg, PA 17110 (717) 540-8096

EDUCATION
Widener University Scheol of Law J.D. awarded May, 2001
Harrisburg, Pennsylvania cum laude
Class Rank: Top 20% (within .114 of Top 10%)
Honors:

Dean’s Honors List: Spring 1999, Spring 2000, Spring 2001
Judge James C. Crumlish, Jr. Memorial Award
Moot Court Honor Society

Certificate Of Achievement: Civil & Political Rights
Advocacy Training: Intensive Trial Advocacy Program

Memberships: James 8S. Bowman American Inn of Court, Widener International Law Society
University of Pittsburgh B.A. awarded April, 1998
Johnstown, Pennsylvania

Major: History

GPA: 3.1

Honors: Dean’s List (5 semesters)

Phi Alpha Theta, National History Honor Society
Activity: Founding member of History Club chapter at UPJ
LEGAL EXPERIENCE
York County Public Defender’s Office November, 2001- Present
York, Pennsylvania

Assistant Public Defender. Represent indigent clients in all phases of criminal litigation including:
initial client interviews; preliminary hearings; arraignments; pre-trial conferences; trials; and
sentencing. Position entails maintenance of voluminous caseload; daily courtroom exposure;

extensive research of PA criminal law; constant interaction and negotiation with clients, law
enforcement, opposing counsel and judiciary.

Governor’s Office of General Counsel January, 2000 — May, 2001
Harrisburg, Pennsylvania

Legal Intern. PA State Police: Summarized current case law for publication in PSP Counselor;
drafted legal opinions regarding the impiementation of Pennsylvania's criminal laws; reviewed

and commented on proposed regulations governing PA State Police procedures.
(Summer, 2000 — May, 2001)

PA Department of Labor and Industry: Drafted opinions for Workers’ Compensation Appeals

Board; researched and analyzed current worker’s compensation statutory and case law; attended
regulatory review meetings. (Summer, 2000)

PA Insurance Department: Summarized and indexed recent PA Commonwealth Court decisions

dealing with liquidations and rehabilitations; assisted attorneys in performance evaluations of
outside counsel. (January, 2000 - May, 2000)

Honorable Lawrence F. Clark January, 2000 - May, 2000
Harrisburg, Pennsylvania

Judicial Clerk Intern. Assisted Judge’s law clerk in reviewing briefs, petitions and orders;

researched criminal law and procedural issues; drafted opinions and bench memoranda; observed
all phases of trial; attended trial conferences.
University of Dayton School of Law. Davton. OH

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Mindi Jo Nagy
918 Gillespie Ave. > Portage, PA 15946 6 (814) 736-9331

EDUCATION

Juris Doctor - May 2000

Took the February'2001 PA Bar Exam - results to be released in April

Student Ambassador - Spoke with prospective students and gave tours of the law school
Member of PILO (Public Interest Law Organization)
Member of Women’s Caucus - Organization sponsoring law related activities throughout the year .

Walter Rice Moot Court Competition Semi-Finalist - written brief and oral argument grade were avera ed,
and the top 32 averages within the second year Class were chosen to compete in Walter Rice

- Initiates various community service projects,

Saint Francis College, Loretto, PA

Bachelor of Arts in Political Science Pre-Law - May 1997

Minor in Philosophy

Grade Point Average - 3.77, Magna Cum Lande

All-American Scholar Collegiate Award (1995, 1996, and 1997)

Richard Dorsey Muller Scholarship (1996 and 1997) Based upon written essay

Phi Sigma Jota - International Foreign Language Honor Society (1996 and 1997)

Pi Sigma Alpha - National Political Science Honor Society, Secretary (1996 and 1997)
Pre-Law Club (1993-1997)

El Circulo Espanol (Spanish club) (1993-1997) Vice President 1993-1995; Treasurer 1996-1997
Mock Republican Convention Chairperson for Maine 1996

EMPLOYMENT HISTORY

Andrews, Wagner, & Beard Law Offices, Altoona, PA
Law Clerk - August 2000 - January 2001

Summer Law Clerk 1999 & Law Clerk December 1999 - Janu.

Performed research - a good deal of which dealt with employer workplace policies, workers compensation,
and educational issues

Work performed relative to educational issues

wrote: school drug use policies that area schools adopted and implemented, acceptable student computer
use policies, school district transportation contracts for transportation services

researched topics on: dress codes, special education, and arbitrator decisions to select an arbitrator most
suited to hear the case

sifted through documents to prepare chronological files for school labor arbitrations; wrote requests for
production of documents

Work performed relative to workers compensation

examined case files and then prepared Respondent’s Answer to the complaint, Proposed Findings of Fact

and Conclusions of Law, Briefs in Opposition to Claimant’s Petition, Defendant’s Closing Position
Statement

Composed seminar outlines entitled

The Interrelationship Between the ADA, FMLA, Workers Compensation, and Social Security Disability
Insurance

Employer No Solicitation Policies and Unionization

ary 2000 (during Christmas Break)
Performed research - a good deal of which dealt with employment, workers compensation, and
educational issues

Wrote inter-office memos concerning research topics

Worked with an arbitration transcript to write and submit the closing arbitration statement. The arbitrator
ruled in favor of our client on all points contained within the closing

Attended mediations, negotiations, depositions and workers compensation hearings
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Portage National Bank, Portage, PA

* Summer 1998 and 1997

Customer Service Representative

Performed monetary transactions for customers

Developed strong organizational skills from handling currency
Developed strong communication skills from dealing with the public

JUDICIAL CLERKSHIP

Montogmery County Court House. Dayton, OH
January - May 2000 - 10 hours per week

Observed Judge Gorman’s courtroom proceedings then discussed key issues with her
Prepared Judge opinions based on my discussions with the Judge following proceedings, attorney briefs,
and my research on the pertinent issues

Concentrated on criminal law topics like the legality of a search and seizure and admissibility of evidence

VOLUNTEER
Pennsylvania Office of the Attorney General Bureau of Consumer Protection Ebensburg, PA
Summer 1998; one day a week

Performed research and prepared memos for attorney
Enhanced communication skills by contacting disputing parties in attempt to resolve disagreements

LEGAL INTERNSHIP
Cambria County District Attorney’s Office, Ebensburg, PA’
Fall 1995
° Observed courtroom proceedings

Interviewed judges and attorneys to determine trial strategies and thought processes used
Summarized findings in an essay for supervising professor
Assisted assistant district attorney with paperwork and filing
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PAUL J. ECKENRODE
1255 Syberton Road
Galhitzin, PA 16641

(814) 330-6956
pauljoeck @ yahoo.com
PA ID 90875

EDUCATION

LEGAL
EXPERIENCE

University of Pittsburgh School of Law, Piltsburgh, PA
JD, May 2003

Murray S. Love Trial Moat Court Competition (///0/)

Washington and Jefferson College, Washington, PA

BA in Political Science, May 2000

GPA 3.19/4

Varsily Baseball (/997 — 2000) Starting pitcher for team in 1999 and 2000.
Lettered 1998 — 2000.

Varsity Football (/996 — 1997)

Phi Kappa Psi Fraternity: Social Chairman, House Messenger.

Honorable Thomas G. Peoples, Jr., President Judge, Blair County,
(06/04-present)

Judicial Law Clerk

« Responsible for Judge’s Civil Case Management System

e Perform essential research on which Judge bases dispositions
e Draft memorandums and opinions

* Coordinate conferences and hearings for Judge

The Law Offices of D. Scott Lautner, P.C., Pittsburgh, PA (7/03-06/04)
Associate

« Drafted civil, family, and criminal pleadings

» Drafted civil, family, and criminal appellate briefs and PCRA Petitions
« Appeared regularly in court in criminal, family, and civil divisions

e Interviewed clients and managed reasonable caseload

e Negotiated personal injury settlements

e Participated in Allegheny County’s family lawyers’ pro bono program
» Learned business aspects of a small firm

John Knorr Law, Pittsburgh, PA (6/02-6/03)

Law Clerk

* Interviewed clients including contact and non-contact interviews with
incarcerated clients

e Prepared pleadings involving criminal, family, and civil matters
e Drafted state and federal appellate briefs

e Acquired experience in numerous areas including, but not limited to, federal
criminal law, state parole and probation proceedings, and PCRA process

Honorable David N. Wecht, Register of Wills, Allegheny County (7/0/-8/0/)
Probate Clerk

e Probated estates
e Researched estate law

e Participated in Judge Wechi’s campaign for Superior Court Judge
Honorable John C. Pettit, District Attorney, Washington, PA (6/0/).

Externship
* Researched various areas of criminal law and drafted briefs

References available unon rernpest
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Terry Graffius

131 Rita Street, Johnstown, PA 15905
814-255-5364, Graffesq@aol.com

OBSECTIVE

To secure a position as an attorney with an organization offering

opportunities for further professional
development and advancement.

PROFESSIONAL ACTIVITIES

Pennsylvania Bar Association: Member, 1995

Cambria County Bar Association: Member, 1995

Young Lawyers Division: President, 1998-2001

YMCA: Member, 1991-2001 Membership Committee, 1997-2001
Women's Help Center: Member of By-Laws Commitee, 1996-2001

EXPERIENCE SUMMARY

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Jerome J. Kaharick & Associates « Johnstown, PA * 2000 to Present
Associate Attorney
Areas of practice include: Criminal Defense, Family Law, Civil Litigation, Bankruptcy,

Real Estate and Personal
Injury.

Kaminsky, Wharton, Silverman & Thomas = Jofinstown, PA * 1995 to 2000
Associate Attorney
Areas of practice include: Family Law, Civil Litigation, Bankruptey, Real Estate and Personal Injury.

Spence, Custer, Saylor, Wolfe & Rose « Johnstown, PA « 1989 to 1992
Paralegal
Prepared bankruptcy petitions, performed Jegal research, and conducted lien searches for bankruptcy attorney.
Performed work as needed for other attorneys.

EDUCATIONAL BACKGROUND

Thomas M. Cooley Law School » Lansing, M/ « 1995
Graduated Cum Laude { Class Rank 30/162 * GPA: 3.10
Law Review: Associate Editor, 1994
Sports Law Society: President, Secretary
Italian Law Society: Member
intramural Sports

Duquesne University Paralegal Institute » Pittsburgh, PA * 1987
GPA: 3.75
Major courses: Legal Writing, Legal Research, Paralegal Profession, Real Estate Law, Civil Litigation,
Estates/Trusts/Witls, Corporate Law and Criminal Law.
Experience with Westlaw/Lexis.

University of Pittsburgh at Johnstown © Johnstown, PA + 1987
B.A., Pofitical Science * GPA: 3.25
Develop research and writing skills neaded for study and practice of law.
UPJ Political Science Club: Member
Pi Sigma Alpha Honor Society: Treasurer, Kappa Beta Chapter.

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MARY BETH KRAUSE, PARALEGAL

Mary Beth Krause has been employed by Leventry, Haschak & Rodkey, LLC since
December of 1986. She is also the office manager of Leventry, Haschak & Rodkey, LLC. Mrs.
Krause received her Paralegal Certification from the Indiana University of Pennsylvania in February of
1989. Mrs. Krause is also a licensed Pennsylvania Title Insurance Agent and has been a Pennsylvania
Notary Public since 1988.

Mrs. Krause specializes in the areas of real estate transactions, commercial loans and estates.
Mrs. Krause has extensive experience in coordinating real estate transactions and commercial loan
transactions including:

Preparation and/or review of sales agreements;

Performing title searches;

Preparation of all loan documents including settlement statements, deeds, mortgages and
notes and title insurance policies;

Coordinating and performing closings.

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Mrs. Krause also performs regular duties in estate administration. Among her responsibilities,
Mrs. Krause prepares all petitions, manages the inventory of assets and payment of bills, and preparation
of state and federal estate tax returns and estate accounting.

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PAUL A. MATTIS, PARALEGAL

Paul A Mattis is a paralegal. Mr. Mattis is a 1995 graduate of the Pennsylvania State University
where he earned a Bachelor of Science degree majoring in the Administration of Justice. Subsequently,
Mr. Mattis attended Mount Aloysius College and was awarded an Associates Degree in 2003 and a
Bachelor of Arts Degree majoring in Professional Studies: Pre-Law in 2005.

Mr. Mattis worked as Juvenile Care Worker at ACRP from 1995 to 2002. Mr. Mattis has been

employed by Leventry, Haschak & Rodkey, LLC since October of 2005. He assists in the areas of
litigation, research and document drafting and review.

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